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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


DILLON BURNETT,

               Plaintiff,                                     Hon. Hala Y. Jarbou

v.                                                            Case No. 1:19-cv-257

JOSH GRIFFITH,

            Defendant.
____________________________________/

                 SUPPLEMENTAL REPORT AND RECOMMENDATION

       This matter is before me pursuant to the January 7, 2020 Order of Judge Jarbou (ECF No.

43) rejecting the December 8, 2020 Report and Recommendation (ECF No. 39) and returning the

matter solely for consideration of qualified immunity. The facts are fully set forth in ECF Nos. 39

and 43 and need not be repeated here.

        “Under the doctrine of qualified immunity, ‘government officials performing

discretionary functions generally are shielded from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of which a reasonable

person would have known.’” Phillips v. Roane Cty., 534 F.3d 531, 538 (6th Cir. 2008) (quoting

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Once a defendant raises the qualified immunity

defense, the burden shifts to the plaintiff to demonstrate that the defendant officer violated a right

so clearly established “that every ‘reasonable official would have understood that what he [was]

doing violate[d] that right.’” Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (quoting Anderson v.

Creighton, 483 U.S. 635, 640 (1987)). The analysis entails a two-step inquiry. Martin v. City of

Broadview Heights, 712 F.3d 951, 957 (6th Cir. 2013). First, the court must “determine if the facts
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alleged make out a violation of a constitutional right.” Id. (citing Pearson v. Callahan, 555 U.S.

223, 232 (1982)). Second, the court asks if the right at issue was “‘clearly established’ when the

event occurred such that a reasonable officer would have known that his conduct violated it.” Id.

(citing Pearson, 555 U.S. at 232).

       Because the Court has determined that Plaintiff has presented sufficient evidence to

establish an Eighth Amendment violation, the only remaining issue is whether the law was clearly

established. As the Supreme Court has observed, “this Court’s case law does not require a case

directly on point for a right to be clearly established, [but] existing precedent must have placed the

statutory or constitutional question beyond debate.” White v. Pauly, 137 S. Ct. 548, 551 (2017)

(internal quotation marks and original brackets omitted) (quoting Mullenix v. Luna, 577 U.S. 7, 12

(2015)). “‘[C]learly established law’ may not be defined at such ‘a high level of generality.’”

Arrington-Bey v. City of Bedford Heights, 858 F.3d 988, 992 (6th Cir. 2017) (quoting Ashcroft v.

al-Kidd, 563 U.S. 731, 742 (2011)). “[A] plaintiff must identify a case with a similar fact pattern

that would have given ‘fair and clear warning to officers’ about what the law requires.” Id. (quoting

White, 137 S. Ct. at 552). Stated differently, “[o]n both the facts and the law, specificity is [a

court’s] guiding light.” Novak v. City of Parma, 932 F.3d 421, 426 (6th Cir. 2019).

       Here, Plaintiff’s Eighth Amendment right to be free from excessive force was clearly

established at the time of the incident in question. See Whitley v. Albers, 475 U.S. 312 (1986);

Hudson v. McMillan, 503 U.S. 1 (1992). These cases establish that “the unnecessary and wanton

infliction of pain . . . constitutes cruel and unusual punishment forbidden by the Eighth

Amendment.” Id. at 5 (internal quotation marks omitted). As for the requisite specificity, Cordell

v. McKinney, 759 F.3d 573 (2014), discussed at length in the prior Report and Recommendation,

was sufficiently factually similar to the instant case to give an officer fair and clear warning that


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throwing or slamming a handcuffed prisoner headfirst to the ground, particularly when other

options were available to moderate the amount of force used, was an unreasonable method of

regaining control over a prisoner. Moreover, qualified immunity is generally inappropriate where

genuine issues of material fact remain. See Zantello v. Shelby Twp., 277 F. App’x 570, 571 (6th

Cir. 2008).

       Accordingly, I recommend that the Court conclude that Defendant is not entitled to

qualified immunity and deny Defendant’s motion for summary judgment. (ECF No. 31.)


Dated: January 12, 2021                                     /s/ Sally J. Berens
                                                           SALLY J. BERENS
                                                           U.S. Magistrate Judge

                                   NOTICE TO PARTIES

       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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